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                             UNITED STATES DISTRICT COURT
                          FOR THE NORTHERN DISTRICT OF TEXAS
                                 FORT WORTH DIVISION

JOSEPH MALDONADO-PASSAGE               §
                                       §
      Plaintiff,                       §
                                       §
vs.                                    § CIV. NO. 4:20-CV-1339-P
                                       §
ROSALIND SARGENT-BURNS, IN             §
HER CAPACITY AS ACTING                 §
PARDON ATTORNEY                        §
                                       §
      Defendant.                       §
______________________________________________________________________________

                NOTICE OF DISMISSAL WITHOUT PREJUDICE
______________________________________________________________________________

        Pursuant to Rule 41(a)(1), Plaintiff, Joseph Madonado-Passage (“Joe Exotic”),

hereby voluntarily dismisses all claims asserted in this action, without prejudice to

Plaintiff’s right to assert any or all of the claims in a future action.

        Per Rule 41(a), dismissal is effective automatically upon filing of a notice, without

any further action of the Plaintiff or the Court.1 See, e.g., Am. Cyanamid Co. v. McGhee,

317 F.2d 295, 297 (5th Cir. 1963).

        In this action, Joe Exotic sought to require the acting United States Pardon

Attorney to forward his Pardon Petition and a recommendation to the President, so that

the President can exercise his plenary power to grant or deny clemency under the

Constitution. Subsequent to the filing of this suit, Joe Exotic has developed a belief that


1
  Because of automatic effect of a notice of dismissal, Joe Exotic believes that this notice renders moot the
requirements of the Court’s December 18, and December 21, 2020 Orders [Dkt. 4 & 5]. Nevertheless, out of respect
for the Court, Joe Exotic filed an amended complaint (immediately prior to filing this notice), which he believes
complies with the Court’s Orders.
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the President has received both Joe Exotic’s Pardon Petition (which is the petition at issue

in this case) and Joe Exotic’s subsequent Petition for Commutation (which was accepted

by the Pardon Attorney).2

        Furthermore, the Office of the Pardon Attorney acknowledged that the

President has plenary power to grant clemency with or without the guidance and

assistance of Department personnel. Therefore, while this action may not be moot, Joe

Exotic has determined that it is unnecessary at this time.

        Accordingly, Joe Exotic hereby dismisses this action in its entirety, without

prejudice to his right to assert any claims in a future action if he determines that his

current belief regarding the Pardon Petition is inaccurate or if he otherwise determines it

would be appropriate to file a new action.

                                                            Respectfully submitted,

Filed December 22, 2020                                     /s/ Francisco Hernandez, Jr.
                                                            Francisco Hernandez, Jr.
                                                            Texas Bar No. 09515950)
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                                                            Fort Worth, TX 76102
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                                                            Counsel for Plaintiff




2
 The public record referenced by the Court in its December 22, 2020 Amended Order relates to the Petition for
Commutation of Sentence, which is distinct from the Pardon Petition on which this action was based. The Pardon
Petition filed under PR NO. 7305098 does not appear in the Public Record. Nevertheless, Joe Exotic now
believes the Pardon Petition has been received by the President.
                                                                                                                 2
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                                CERTIFICATE OF SERVICE

       The defendant has not appeared in this action, but the defendant will be served via first-

class mail.

                                                     /s/ Francisco Hernandez, Jr.




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